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          MCGREGOR W. SCOTT
          United States Attorney
          KEVIN P. ROONEY
          Assistant U.S. Attorney
          4401 Federal Building
                                                         FILED
          2500 Tulare Street                               MAR 3 0 2006
 4        Fresno, California 93721                    CLERK. U.S. OISTRICT COURT
          Telephone: (559) 497-4000                 EASTERN OlSTRlCT OF CALIFORNIA
 5                                                  BY
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                       IN THE UNITED STATES DISTRICT COURT FOR THE


 9
                              EASTERN DISTRICT OF CALIFORNIA
                                                                                              I
          UNITED STATES OF AMERICA,          )   CR.NO. f:     06CR00 1 1 6OM
10                                           )
                          Plaintiff,             EX PARTE MOTION TO SEAL
11                                           )   INDICTMENT PURSUANT
                     v.                      )   TO RULE 6 (e), FEDERAL
12,                                              FEDERAL RULES OF
                                             )   CRIMINAL PROCEDURE
           SURJIT SINGH RAJASAI, et.al. )
                                             )
                                                                                         I
                           Defendants.       )
                                                                                         I
                                             )


16
     1
               The government moves the Court, pursuant to Rule 6(e) of the
          Federal Rules of Criminal Procedure, to order and direct that the
                                                                                         I~
17
          Indictment returned by the Grand Jury on March 30, 2006, charging
          the above defendants with a violation of Title 21, United States           1
19 1
         ' Code, Section 841(a)(l) and 846 - Conspiracy to Distribute

2 0 Methamphetamine and other violations, be kept secret until the
2 1 defendants named in the Indictment are either in custody or have                 1
          been given bail on this offense; and further order that until such         1
23
          time as the defendants are in custody or have been given bail,
24
          that no person shall disclose the finding of the Indictment or any
25
     warrants issued pursuant thereto, except when necessary for the
26:1
  II
                                                                                     1
  Case 1:06-cr-00116-DAD Document 2 Filed 03/31/06 Page 2 of 2


issuance and execution of the warrants

DATED: March p 2 0 0 6                  Respectfully submitted,

                                        MCGREGOR W. SCOTT
                                        United States Attorney


                                        /KEVIN P.
                                        Assistant

ORDERED as prayed this &%ay         of March 2 0 0 6



                                        u y ~ a g i s e r a t eJudge
